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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
                                                                        :
DAVID ARCHER,                                                           :
                                                                        :      18 Civ. 9237 (PAE)
                                              Plaintiff,                :
                                                                        :    ORDER OF DISMISSAL
                            -v-                                         :
                                                                        :
MANHATTAN AND BRONX SURFACE TRANSIT                                     :
 OPERATING AUTHORITY, et at.,                                           :
                                                                        :
                                              Defendants.               :
                                                                        :
-------------------------------------------------------------------------X

PAUL A. ENGELMAYER, District Judge:

         Plaintiff filed the complaint in this action on October 9, 2018. Dkt. 1. Defendants filed

an answer on February 27, 2019. Dkt. 13. The case was then referred to mediation, which was

unsuccessful. See Dkt. 26. On August 30, 2019, plaintiff filed a letter with the Court advising

the Court that plaintiff was going to file a stipulation, upon defense counsel’s review, consenting

to a voluntary dismissal of the action, without prejudice. Dkt. 32. Such a stipulation was never

filed, and no further filings have been made in this case.

         On October 7, 2020, the Court ordered a status update by October 14, 2020, as to the

status of the stipulation described in plaintiff’s letter. Dkt. 33. Counsel did not provide a status

update. On October 20, 2020, the Court issued an order to show cause why the case should not

be dismissed and advised that if the Court did not receive any written communication from

plaintiff by November 3, 2020, the Court would dismiss the claims against defendants without

prejudice. Dkt. 34. Plaintiff has not responded to the Court’s order nor taken any other action to

make any progress in this case since the Court’s order to show cause. Accordingly, the Court

hereby dismisses this case, without prejudice.
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      The Clerk of Court is respectfully directed to close this case.

      SO ORDERED.
                                                               PaJA.�
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                                                            Paul A. Engelmayer
                                                            United States District Judge

Dated: November 5, 2020
